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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ELENA STRUJAN,

                                 Plaintiff,
                                                               1:20-CV-7822 (CM)
                     -against-
                                                              CIVIL JUDGMENT
 NEW YORK CITY HALL-A FICTION, et al.,

                                 Defendants.

       Pursuant to the order issued October 16, 2020, dismissing this action without prejudice,

       IT IS ORDERED, ADJUDGED, AND DECREED that under the November 21, 2018

order in Strujan v. Columbia Univ. – A Fiction, ECF 1:18-CV-8755, 7 (S.D.N.Y. Nov. 21, 2018),

this action is dismissed without prejudice.

       The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

       IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

 Dated:    October 16, 2020
           New York, New York

                                                         COLLEEN McMAHON
                                                     Chief United States District Judge
